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                                                                 Friday, 27 October, 2006 09:41:51 AM
                                                                         Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                         Urbana Division

UNITED STATES OF AMERICA,                       )
                                                )
       v.                                       )           Case No. 06-20032-06
                                                )
MARION JEFFERSON, III                           )

REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

       The United States of America and the Defendant having both filed a written consent,
appeared before me pursuant to Rule 11, FED. R. CRIM. P. and CDIL-LR 72.1(A)(24). The
Defendant entered a plea of guilty to Counts I, VI, VII, VIII, and IX of the Indictment. After
cautioning and examining the Defendant under oath concerning each of the subjects mentioned
in Rule 11, I determined that the guilty plea was knowing and voluntary as to each count, and
that the offenses charged therein are supported by an independent factual basis containing each
of the essential elements of such offense. I therefore recommend that the plea of guilty be
accepted, that a pre-sentence investigation and report be prepared, and that the Defendant be
adjudged guilty and have sentence imposed accordingly.


       Failure to file written objections to this Report and Recommendation within ten (10) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(1)(B).

       ENTER this 27th day of October, 2006.

                                                            s/ DAVID G. BERNTHAL
                                                           U.S. MAGISTRATE JUDGE
